        Case 15-31772 Document 144 Filed in TXSB on 05/28/21 Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                          §
PORTER DEVELOPMENT                              §       CASE NO. 15-31305-H5-7
PARTNERS, LLC                                   §       (Lowest Number)
WB MURPHY ROAD                                  §       CASE NO. 15-31307-H3-7
DEVELOPMENT, LLC                                §
WB REAL ESTATE                                  §       CASE NO. 15-31770-H1-7
HOLDINGS, LLC                                   §
WALLACE BAJJALI                                 §       CASE NO. 15-31772-H1-7
INVESTMENT FUND II, LP                          §


             EXPEDITED UNOPPOSED MOTION TO ABATE PRE-TRIAL
             DEADLINES AND TO SCHEDULE HEARING ON TRUSTEE’S
                     MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE EDUARDO RODRIQUEZ, U.S. BANKRUPTCY JUDGE:

       COMES NOW Lowell T. Cage, Chapter 7 Trustee (the “Trustee”) for the estates of Porter

Development Partners LLC (“Porter Development”), WB Murphy Road Development LLC

(“Murphy Road”), WB Real Estate Holdings LLC (“WB Holdings”), and Wallace Bajjali

Investment Fund II (“Fund II”) (collectively the “Debtors”), and the other related Wallace Bajjali

Debtors, and files his Expedited Unopposed Motion to Abate Pre-trial Deadlines and to Schedule

Hearing on his Motion for Summary Judgment, and in support thereof respectfully shows the

Court as follows:

                      ABATEMENT OF PRE-TRIAL DEADLINES

       1.      On April 9, 2021, Trustee filed his Motion for Summary Judgment on his

Objections to the Late Filed Claims of the Taylor Claimants (the “MSJ Motion”) (Doc. Nos. 659,

310, 126, and 122 in Debtors’ cases); and the Taylor Claimants subsequently filed their Response

to the MSJ Motion on April 23, 2021 (Doc. Nos. 672, 320, 136, and 132 in Debtors’ cases).
                                           1
        Case 15-31772 Document 144 Filed in TXSB on 05/28/21 Page 2 of 3




Thereafter, the Trustee filed his Reply to the Response on May 7, 2021 (Doc. Nos. 676, 324, 140,

and 136 in Debtors’ cases). Presently, no hearing date is scheduled on the MSJ Motion.

       2.        As required by this Court’s Scheduling Order entered on December 24, 2021 (Doc.

Nos. 637, 306, 122, and 118 in Debtors’ cases), the Trustee and the Taylor Claimants have thus far

complied with the deadlines imposed on the parties therein. Currently, the parties are required to

comply with remaining pre-trial deadlines set in the months of June and July pursuant to the

Court’s Scheduling Order as follows:

       June 11          -      Witness and Exhibit Lists

       June 25          -      Objections to Witness and Exhibits Lists

       July 2           -      Face to Face Meeting

       July 16          -      Pre-trial Order

       July 27          -      Pre-trial Conference

       3.        To promote judicial economy and to avoid unnecessary costs for the Debtors’

estates and the Taylor Claimants, the Trustee desires to abate the pre-trial deadlines until after the

Court has conducted its hearing on the MSJ Motion. If convenient for the Court, counsel for the

Trustee and the Taylor Claimants are available to appear for the hearing on the MSJ Motion during

the weeks of June 21 and June 28 (with the exception of July 1 for Taylor Claimants’ counsel) or

thereafter. As required by the Court’s procedures, the Trustee and the Taylor Claimants will

appropriately submit their exhibits electronically prior to the evidentiary hearing on the MSJ.

                                       RELIEF REQUESTED

       4.        Currently, the foregoing pre-trial deadlines in these contested matters remain

scheduled in the months of June and July 2021. Until the Court has conducted its hearing on the

MSJ Motion in these contested matters, the Trustee believes abatement of the remaining pre-trial
                                                  2
        Case 15-31772 Document 144 Filed in TXSB on 05/28/21 Page 3 of 3




deadlines is warranted. The Taylor Claimants do not oppose abatement of the pre-trial deadlines or

scheduling the hearing on the MSJ Motion as requested herein.

        ACCORDINGLY, the Trustee requests an abatement of the remaining pretrial deadlines

subject to further order of this Court and the scheduling of a hearing on his Motion for Summary,

and for such other and further relief to which he may be justly entitled.

                                                          Respectfully submitted,

                                                          /s/ Theresa Mobley
                                                          ____________________________________
                                                          THERESA MOBLEY
                                                          State Bar No. 14238600
                                                          Mobley Law Group PLLC
                                                          5505 Bryan Street
                                                          Dallas, Texas 75206
                                                          (972) 863-9466


                                       Certificate of Conference

         I hereby certify that on May 27, 2021, I conferred by email with Tom Schmidt, counsel
 for the Taylor Claimants, regarding the relief requested herein. He is not opposed to the
 relief requested herein.

                                                   /s/__ Theresa Mobley_____________
                                                    Theresa Mobley


                                         Certificate of Service

            I certify that on M a y 2 8 , 2 0 2 1, a copy of the foregoing m o t i o n w a s s e r v e d b y
 e l e c t r o n i c m a i l a n d b y the Electronic Case Filing System for the United States
 Bankruptcy Court for the Southern District of Texas upon Tom Schmidt, counsel for the Taylor
 Claimants, and Peter Johnson, counsel for Bryan Stanley. .


                                                   /s/__ Theresa Mobley_____________
                                                    Theresa Mobley




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